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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:13CR106
                                             )
       vs.                                   )                   ORDER
                                             )
RUSSELL GLENN PIERCE,                        )
                                             )
                     Defendant.              )


       This matter is before the court on the motion of defendant Russell Glenn Pierce
(Pierce) to modify conditions of release (Filing No. 227). Pierce seeks removal of his ankle
monitor for his travel from the Southern District of Florida to the District of Nebraska and
return. Pierce’s counsel represents that government’s counsel has no objection. Pretrial
Service represents the ankle monitor does not interfere with airline travel and opposes the
motion. Upon consideration, the motion to modify (Filing No. 227) is denied.


       IT IS SO ORDERED.


       DATED this 5th day of September, 2014.


                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
